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                                    UNITED STATES BANKRUPTCY COURT
                                     SOUTHERN DISTRICT OF FLORIDA
                                             MIAMI DIVISION
                                            www.flsb.uscourts.gov
In re:
                                                                              Case No.: 24-21209-LMI
SHIFTPIXY, INC.,1
                                                                              Chapter 7
            Debtors.                                                      /   (Jointly Administered)

TRUSTEE’S SUBPOENA FOR RULE 2004 EXAMINATION DUCES TECUM TO LAURICE EL
                    BADRY RAHME, LTD. d/b/a BOND NO. 9

TO: Laurice El Badry Rahme, Ltd. d/b/a Bond                                     Laurice El Badry Rahme, Ltd. d/b/a
           No. 9                                                                Bond No. 9
           c/o Phillips Nizer LLP                                               c/o Laurice Rahmé, CEO
           Attn: Andrew J. Tunick                                               9 Bond Street,
           485 Lexington Avenue                                                 New York, NY 10012
           New York, NY 10017

    [ X ] YOU ARE COMMANDED to produce and permit inspection and copying of the following
              documents or objects at the place, date, and time specified below: SEE EXHIBIT “A”

    PLACE                                                                       DATE AND TIME
    Agentis PLLC
    45 Almeria Avenue                                                           April 25, 2025
    Coral Gables, Florida 33134
          The following provisions of Fed. R. Civ. P. 45, made applicable in bankruptcy cases by Fed. R. Bankr. P. 9016,
are attached – Rule 45(c), relating to the place of compliance; Rule 45(d), relating to your protection as a person subject
to a subpoena; and Rule 45(e) and 45(g), relating to your duty to respond to this subpoena and the potential consequences
of not doing so.

Date: April 11, 2025.                                By:      /s/ Paula A. Martinez
                                                               Paula A. Martinez
                                                               Florida Bar No.: 1017901
                                                               pam@agentislaw.com
                                                               AGENTIS PLLC
                                                               Attorneys for Chapter 7 Trustee
                                                               45 Almeria Avenue
                                                               Coral Gables, Florida 33134
                                                               T 305.722.2002
                                       Notice to the person who issues or requests this subpoena
    If this subpoena commands the production of documents, electronically stored information, or tangible things, or the inspection
     of premises before trial, a notice and a copy of this subpoena must be served on each party before it is served on the person to
                                               whom it is directed. Fed. R. Civ. P. 45(a)(4).

1
  The Debtors are: (i) Shiftpixy, Inc.; (ii) Shiftpixy Staffing, Inc.; and (iii) ReThink Human Capital Management,
Inc.
                                                           1


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                                        PROOF OF SERVICE
        (This section should not be filed with the court unless required by Fed. R. Civ. P. 45.)

I received this subpoena for (Name of individual and title, if any):
_______________________________ on (date)_____________.

X I served the subpoena by delivering a copy to the named person as follows:
via Certified Mail and U.S. First Class Mail* to:

Laurice El Badry Rahme, Ltd. d/b/a Bond No. 9              Laurice El Badry Rahme, Ltd. d/b/a Bond No.
Attn: Records Custodian                                    9
9 Bond Street,                                             c/o Laurice Rahmé, CEO
New York, NY 10012                                         9 Bond Street,
Tracking No.: 9589 0710 5270 1191 2338 09                  New York, NY 10012
                                                           Tracking No.: 9589 0710 1191 2338 16


on April 11, 2025.

   I returned the subpoena unexecuted because:
_________________________________________________________________________________
_________________________________________________

Unless the subpoena was issued on behalf of the United States or one of its officers or agents, I have also
tendered to the witness the fees for one day’s attendance, and the mileage allowed by law, in the amount
of $_________________.

My fees are $__________ for travel and $___________ for services, for a total of $___________.

I declare under penalty of perjury that this information is true and correct.

Date:


                                                  /s/ Paula A. Martinez
                                                  Server’s signature

                                                  Paula A. Martinez, Attorney
                                                  Printed name and title

                                                  45 Almeria Ave., Coral Gables, FL 33134
                                                  Server’s Address

Additional information concerning attempted service, etc.:

* Fed. R. Civ. P. 45 subpoenas may be served via U.S. Mail. See Codrington v. Anheuser–Busch,
Inc., 1999 WL 1043861 (M.D. Fla. 1999); In re Falcon Air Express, Inc., 2008 WL 2038799 (Bankr.
S.D. Fla. 2008)



                                                      2


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                                                Federal Rule of Civil Procedure 45(c), (d), (e), and (g) (Effective 12/1/13)
                                           (made applicable in bankruptcy cases by Rule 9016, Federal Rules of Bankruptcy
                                                                            Procedure)

 (c) Place of compliance.                                                                         (ii) disclosing an unretained expert's opinion or information that does not
  (1) For a Trial, Hearing, or Deposition. A subpoena may command a                         describe specific occurrences in dispute and results from the expert's study that
person to attend a trial, hearing, or deposition only as follows:                           was not requested by a party.
       (A) within 100 miles of where the person resides, is employed, or                        (C) Specifying Conditions as an Alternative. In the circumstances
regularly transacts business in person; or                                                  described in Rule 45(d)(3)(B), the court may, instead of quashing or
     (B) within the state where the person resides, is employed, or regularly               modifying a subpoena, order appearance or production under specified
transacts business in person, if the person                                                 conditions if the serving party:
         (i) is a party or a party’s officer; or                                                   (i) shows a substantial need for the testimony or material that cannot be
       (ii) is commanded to attend a trial and would not incur substantial                  otherwise met without undue hardship; and
expense.                                                                                              (ii) ensures that the subpoenaed person will be reasonably
                                                                                            compensated.
  (2) For Other Discovery. A subpoena may command:
     (A) production of documents, or electronically stored information, or things           (e) Duties in Responding to a Subpoena.
at a place within 100 miles of where the person resides, is employed,
or regularly transacts business in person; and                                                (1) Producing Documents or Electronically Stored Information. These
     (B) inspection of premises, at the premises to be inspected.                           procedures apply to producing documents or electronically stored
                                                                                            information:
(d) Protecting a Person Subject to a Subpoena; Enforcement.                                     (A) Documents. A person responding to a subpoena to produce
                                                                                            documents must produce them as they are kept in the ordinary course of
     (1) Avoiding Undue Burden or Expense; Sanctions. A party or attorney                   business or must organize and label them to correspond to the categories in the
responsible for issuing and serving a subpoena must take reasonable steps to                demand.
avoid imposing undue burden or expense on a person subject to the subpoena.                        (B) Form for Producing Electronically Stored Information Not
The court for the district where compliance is required must enforce this duty              Specified. If a subpoena does not specify a form for producing electronically
and impose an appropriate sanction — which may include lost earnings and                    stored information, the person responding must produce it in
reasonable attorney's fees — on a party or attorney who fails to comply.                    a form or forms in which it is ordinarily maintained or in a reasonably
                                                                                            usable form or forms.
  (2) Command to Produce Materials or Permit Inspection.                                        (C) Electronically Stored Information Produced in Only One Form. The
    (A) Appearance Not Required. A person commanded to produce                              person responding need not produce the same electronically stored
documents, electronically stored information, or tangible things, or to                     information in more than one form.
permit the inspection of premises, need not appear in person at the place of                    (D) Inaccessible Electronically Stored Information. The person responding
production or inspection unless also commanded to appear for a deposition,                  need not provide discovery of electronically stored information
hearing, or trial.                                                                          from sources that the person identifies as not reasonably accessible because
    (B) Objections. A person commanded to produce documents or tangible                     of undue burden or cost. On motion to compel discovery or for a protective
things or to permit inspection may serve on the party or attorney designated in             order, the person responding must show that the information is not reasonably
the subpoena a written objection to inspecting, copying, testing or sampling any            accessible because of undue burden or cost. If that showing is made, the court
or all of the materials or to inspecting the premises — or to producing                     may nonetheless order discovery from such sources if the requesting party
electronically stored information in the form or forms requested. The objection             shows good cause, considering the limitations of Rule
must be served before the earlier of the time specified for compliance or 14 days           26(b)(2)(C). The court may specify conditions for the discovery.
after the subpoena is served. If an objection is made, the following rules apply:
       (i) At any time, on notice to the commanded person, the serving party may                (2) Claiming Privilege or Protection.
move the court for the district where compliance is required for an order                        (A) Information Withheld. A person withholding subpoenaed information
compelling production or inspection.                                                        under a claim that it is privileged or subject to protection as
       (ii) These acts may be required only as directed in the order, and the order         trial-preparation material must:
must protect a person who is neither a party nor a party's officer from                            (i) expressly make the claim; and
significant expense resulting from compliance.                                                     (ii) describe the nature of the withheld documents, communications, or
                                                                                            tangible things in a manner that, without revealing information itself
  (3) Quashing or Modifying a Subpoena.                                                     privileged or protected, will enable the parties to assess the claim.
    (A) When Required. On timely motion, the court for the district where                        (B) Information Produced. If information produced in response to a
compliance is required must quash or modify a subpoena that:                                subpoena is subject to a claim of privilege or of protection as trial- preparation
      (i) fails to allow a reasonable time to comply;                                       material, the person making the claim may notify any party that received the
      (ii) requires a person to comply beyond the geographical limits                       information of the claim and the basis for it. After being notified, a party must
specified in Rule 45(c);                                                                    promptly return, sequester, or destroy the specified information and any copies it
      (iii) requires disclosure of privileged or other protected matter, if no              has; must not use or disclose the information until the claim is resolved; must
exception or waiver applies; or                                                             take reasonable steps to retrieve the information if the party disclosed it before
      (iv) subjects a person to undue burden.                                               being notified; and may
    (B) When Permitted. To protect a person subject to or affected by a                     promptly present the information under seal to the court for the district where
subpoena, the court for the district where compliance is required may, on                   compliance is required for a determination of the claim. The person
motion, quash or modify the subpoena if it requires:                                        who produced the information must preserve the information until the claim
      (i) disclosing a trade secret or other confidential research,                         is resolved.
development, or commercial information; or                                                  (g) Contempt. The court for the district where compliance is required – and also,
                                                                                            after a motion is transferred, the issuing court – may hold in contempt
                                                                                            a person who, having been served, fails without adequate excuse to obey
                                                                                            the subpoena or an order related to it.
                                                                       Access to Subpoena Materials
                                                               Fed. R. Civ. P. 45(a) Committee Note (2013)
   • Parties desiring access to information produced in response to this subpoena will need to follow up with the party serving the subpoena to obtain such access.
   • The party serving the subpoena should make reasonable provisions for prompt access.
   • The court for the district where compliance with the subpoena is required has authority to order notice of receipt of produced materials or access to them
                                                                                      3


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                           UNITED STATES BANKRUPTCY COURT
                            SOUTHERN DISTRICT OF FLORIDA
                                    MIAMI DIVISION
                                   www.flsb.uscourts.gov

In re:
                                                                Case No.: 24-21209-LMI
SHIFTPIXY, INC.2,
                                                                Chapter 7
         Debtors.                                           /   (Jointly Administered)

  NOTICE OF RULE 2004 EXAMINATION DUCES TECUM AND INTENT TO SERVE
      SUBPOENA TO LAURICE EL BADRY RAHME, LTD. d/b/a BOND NO. 9
                       (Production of Documents Only)

         Jacqueline Calderin, Chapter 7 Trustee (the “Trustee”) of the bankruptcy estates of

Shiftpixy, Inc., Shiftpixy Staffing, Inc., ReThink Human Capital Management, Inc. (the

“Debtors”), by and through his undersigned counsel, pursuant to Fed.R.Civ.P. 34 and 45,

Fed.R.Bankr.P. 2004, 7030, 7034 and 9016, and Local Rule 2004-1, will examine the following

examinee (the “Examinee”):

Examinee                                   Date                                Location

LAURICE EL BADRY RAHME,                    April 25, 2025                      Agentis PLLC
LTD d/b/a BOND NO. 9                       at 10:00 a.m. (EST)                 45 Almeria Avenue
c/o Phillips Nizer LLP                                                         Coral Gables, FL 33134
Attn: Andrew J. Tunick
485 Lexington Avenue
New York, NY 10017

         The examination is pursuant to Fed.R.Bankr.P. 2004 and Local Rule 2004-1. The scope of

the examination shall be as described in Fed.R.Bankr.P. 2004. Pursuant to Local Rule 2004-1, no

order shall be necessary, and to the extent that a request for production of documents under this

rule may be construed as a request under Bankruptcy Rule 7034, the time to respond is shortened

to fourteen (14) days.


                                                      i

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          The Form Subpoena for Rule 2004 Examination with document requests described on

Schedule “A” are attached to this notice. The Examinee is required to produce the documents

listed on Schedule “A” no later than April 25, 2024, to the offices of Agentis PLLC, 45

Almeria Avenue, Coral Gables, FL 33134, or by e-mail to: pam@agentislaw.com and

pamdiscovery@agentislaw.com.

          In responding to these requests you are required to (i) provide a WRITTEN

RESPONSE detailing your answers and production with regard to each request and (ii)

produce those materials within your custody or control, and in addition, those in the possession

of or obtainable by your attorneys, investigators, adjusters, insurance carriers, representatives,

agents or anyone acting on your behalf.

          IF YOU FAIL TO APPEAR YOU MAY BE IN CONTEMPT OF COURT.

                                                             AGENTIS PLLC
                                                             Counsel for the Trustee
                                                             45 Almeria Avenue
                                                             Coral Gables, Florida 33134
                                                             T. 305.722.2002
                                                             www.agentislaw.com

                                                            By: /s/ Paula A. Martinez
                                                                 Paula A. Martinez
                                                                 Florida Bar No: 1017901
                                                                 pam@agentislaw.com




2 The Debtors are: (i) Shiftpixy, Inc.; (ii) Shiftpixy Staffing, Inc.; and (iii) ReThink Human Capital Management,   Inc.
                                                                ii

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                                  CERTIFICATE OF SERVICE

       I HEREBY CERTIFY that a true and correct copy of the foregoing was served via Notice

of Electronic Filing CM/ECF to those parties registered to receive electronic notices of filing in

this case and via U.S. Mail upon all parties listed on the below Service List on April 11, 2025.

Laurice El Badry Rahme, Ltd. d/b/a Bond No. 9                 Laurice El Badry Rahme, Ltd. d/b/a
c/o Phillips Nizer LLP                                        Bond No. 9
Attn: Andrew J. Tunick                                        c/o Laurice Rahmé, CEO
485 Lexington Avenue                                          9 Bond Street,
New York, NY 10017                                            New York, NY 10012



                                                  AGENTIS PLLC
                                                  Counsel for the Trustee
                                                  45 Almeria Avenue
                                                  Coral Gables, Florida 33134
                                                  T. 305.722.2002
                                                  www.agentislaw.com

                                                 By: /s/ Paula A. Martinez
                                                      Paula A. Martinez
                                                      Florida Bar No: 1017901
                                                      pam@agentislaw.com




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                                            SCHEDULE “A”

                                              DEFINITIONS

       For purposes of responding to the document requests contained herein (the “Requests”
and each, a “Request,”) the following definitions shall apply.

        1.       “You” or “Your” refer to BOND NO. 9 a/k/a BOND NO. 9 NEW YORK and
all of its affiliates, subsidiaries, predecessors, successors and/or assigns, agents, attorneys,
employees, joint venturers, partners, and all other persons acting for, purporting to act for, or
subject to the control of BOND NO. 9 a/k/a BOND NO. 9 NEW YORK .

       2.       The term “ShiftPixy” means SHIFTPIXY, INC. (EIN: XX-XXXXXXX), and includes
any officers, directors, employees, agents, attorneys, associates, predecessors, successors,
assigns, affiliates, subsidiaries, divisions, partners, parents, joint ventures, representatives, and
any and all other persons acting on behalf, acting for, purporting to act for, or subject to or under
the control of the Shiftpixy, or its subsidiaries, parents, predecessors or successors.

        3.     The term “SP Staffing” means SHIFTPIXY STAFFING, INC. (EIN: 86-
1512107), and includes any officers, directors, employees, agents, attorneys, associates,
predecessors, successors, assigns, affiliates, subsidiaries, divisions, partners, parents, joint
ventures, representatives, and any and all other persons acting on behalf, acting for, purporting to
act for, or subject to or under the control of the SP Staffing, or its subsidiaries, parents,
predecessors or successors.

       4.      The term “ReThink” means RETHINK HUMAN CAPITAL MANAGEMENT,
INC. (EIN: XX-XXXXXXX), and includes any officers, directors, employees, agents, attorneys,
associates, predecessors, successors, assigns, affiliates, subsidiaries, divisions, partners, parents,
joint ventures, representatives, and any and all other persons acting on behalf, acting for,
purporting to act for, or subject to or under the control of the ReThink, or its subsidiaries,
parents, predecessors or successors.

       5.        The term “Debtors” refers to Shiftpixy, SP Staffing, and ReThink.

       6.      The term “G3” refers to G3 Business Services LLC, including its affiliates and
assigns, including but not limited to ShiftPixy Holdings, Inc.

       7.     The term “Mr. Todd” refers to Attorney Chris Todd and the firm of Kaizen Law
PC, as counsel for Buyer under the APAs.

       8.     The term “Case” means the instant bankruptcy case, styled In re: ShiftPixy, Inc.
(Case No.: 24-21209-LMI), pending in the United States Bankruptcy Court, Southern District of
Florida, Miami Division.



                                                      iv

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      9.      The term “Petition Date” means the date of October 28, 2024 the date on which
the Debtors filed their respective petition for relief under Chapter 11 of the United States
Bankruptcy Code in the United States Bankruptcy Court for the Southern District of Florida.

      10.     The term “Relevant Time Period” means four (4) years from the Petition Date
through the date of Your response.

         11.    The term “Accounts” means any and all bank accounts including, without
limitation, checking, savings, certificates of deposit and other deposit accounts, trust, escrow,
investment and/or other such accounts opened, established, maintained and/or held by a financial
institution, bank or credit union.

        12.    As used herein, the term “Document” includes every writing, printed or graphic
matter, or record of any type and description that is in the possession, control, or custody of You
or Your agents, employees, attorneys or representatives, including documents which were
prepared by Your agents, employees, attorneys or representatives, which did not leave the
custody of the person preparing them, including without limitation, the original and any non-
identical copy of any of the following: correspondence, memoranda, stenographic or handwritten
notes (of meetings, conferences, and telephone or other conversations or communications),
minutes of meetings, drafts, studies, publications, press releases, statements, transcripts of
testimony, affidavits, summaries, excerpts, journals, diaries and calendar or diary entries, books,
records, accounts pamphlets, voice recordings, reports, surveys, tables, charts, statistical
compilations, analyses, applications, work papers, forms, or other writing or recording of any
kind. The term “document” also includes any commentary or notation of any kind which does
not appear on the original or on another copy. Without limitation of the term “control”, a
document is deemed to be within Your control if You have ownership, possession, or custody of
the document or a copy thereof or the right or ability to secure the document or a copy thereof
from any other person or public or private entity having physical possession thereof. Documents
are only requested to be produced to the extent that they have not already been requested.

        13.     “Copies” of documents includes, but is not limited to, duplicates or counterparts
of any original produced from the same impression or process as the original by carbon or other
chemical or substance or process; negative and positive film and prints of an original or copy of
reproductions and facsimiles of an original or copy, whether or not the same size, produced by
photographic, micro-photographic, photostatic, xerographic, electronic, computerized, or
mechanized process, or by any other process, and enlargement and reductions thereof; and the
data or other information comprising a record stored or transmitted as provided in the below
definition of “Record,” and the visible data or other information generated or regenerated or
transmitted by such information storage or retrieval or transmission system or device, if it is
legible or can be made legible by enlargement or other process.

        14.     “Relating to” means containing, constituting, showing, mentioning, reflecting, or
pertaining or referring in any way, directly or indirectly, to, and is meant to include, among other
documents, documents underlying, supporting, now or previously attached or appended to, or
used in the preparation of any document called for by each request.
                                                    v

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        15.    “Person” means any natural person or any entity, including, without limitation,
any individual, firm, corporation, company, association, partnership, business, public agency,
department, bureau, board, commission, or any other form of public, private or legal entity. Any
reference herein, whether specific or within the term “person,” to any public or private company,
partnership, association, or other entity includes such entity’s subsidiaries and affiliates and the
entity’s and its subsidiaries’ and affiliates’ present and former directors, officers, employees,
attorneys, agents, or anyone acting for any of them at their direction, or under their control.

        16.     “Materials” means all documents, letters, memoranda, notes, and any other
written communication and written notes of all oral communications, whether in person or by
telephone, and every record of every type, including but not limited to, information stored on any
electromagnetic storage device, any written, printed, typed, recorded, or graphic matter, however
produced or reproduced or stored, in Your possession, custody or control and all drafts, notes, or
preparatory material concerned with said document, and every additional copy of such record or
document where such copy contains any commentary, notations, or other change whatsoever that
does not appear on the original or other copy of the document produced. Also included in this
definition is any summary of a document or documents called for hereafter. It is requested that
all documents be produced in the manner they are kept in the ordinary course of business.

        17.     “Record” includes but is not limited to each and every book of account and other
books of every kind, journals, ledgers, statements, instruments, files, messages, writings of every
kind, and other internal or other data and other information of every description made or received
by You in the regular course of business or otherwise, regardless of the mode in which it is
recorded; the original of any such record includes the data or other information comprising a
record stored or transmitted in or by means of any electronic, computerized, mechanized, or
other information storage or retrieval or transmission system or device which can upon request
generate, regenerate, or transmit the precise data or other information comprising the record, and
an original also includes the visible data or other information so generated, regenerated, or
transmitted if it is legible or can be made legible by enlargement or other process.

       18.      “Refer” or “relate to” or “reflecting” means to make statement about, discuss,
describe, reflect, constitute, identify, deal with, consist of, establish, comprise, list, evidence,
substantiate, or in any way pertain in whole or in part, to the subject.

        19.   “Communication” or “communications” means any verbal, written, or
electronic means of conversation or other statement from one person to another, including, but
not limited to, any interview, conference, meeting, telephone conversation, or electronic
conversation whether by instant message or electronic mail.

       20.    “Contract” or “contracts” shall mean (a) an agreement, oral or written, between
two or more Persons which creates an obligation to do or not to do a particular thing, and (b) any
document which serves as proof of the obligation, including, without limitation, any subcontract,
insurance policy or other formal agreement, including exhibits, attachments, amendments
(whether with or without effect), modifications (whether with or without effect), and addenda.

                                                    vi

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        21.    “And” and “or” as used herein are terms of inclusion and not of exclusion, and
shall be construed either disjunctively or conjunctively as necessary to bring within the scope of
the request for production of documents any document or information that might otherwise be
construed to be outside its scope.

       22.    The singular form of a noun or pronoun shall be considered to include within its
meaning the plural form of the noun or pronoun, and vice versa. The masculine form of a noun
or pronoun shall be considered to include within its meaning the feminine form of the noun or
pronoun, and vice versa.

       23.     Regardless of the tense employed, all verbs shall be read as applying to the past,
present and future as is necessary to make any paragraph more, rather than less, inclusive.

       24.    The definitions set forth in 11 U.S.C. § 101 and Bankruptcy Rule 9001 are
incorporated herein by reference.

                                          INSTRUCTIONS

       With respect to this request for documents, the following instructions shall apply:

        A.      This request for documents is continuing so as to require supplementary documents
if additional information or documents hereafter are obtained or discovered which may augment
or otherwise modify the information that You provide and documents that You produce.
Supplementary documents are to be served within five (5) days after receipt or discovery of such
information or documents.

        B.      Examinee is hereby notified that its duty to respond to this document request
includes the duty to furnish all information, documents and materials which are in Your
possession or available to You, including all those which can be obtained from additional
sources or in the possession of Your agents, representatives, employees, investigators, attorneys,
or anyone acting on their behalf or on Your behalf, pursuant to Fed.R.Bankr.P. 7036. If You are
unable to locate any requested information or document after exercising due diligence to secure
the requested document, so state.

       C.      In the event that any document requested herein is not presently in Your possession
or subject to Your control, please identify each person You have reason to believe had or has
knowledge of its contents.

        D.     If any document is not produced under a claim of privilege, for each such
document identify the nature of the privilege (including work product) that is being claimed,
indicate the document request to which the document is responsive, and provide the following
information, unless divulgence of such information would cause disclosure of the allegedly
privileged information: (1) the type of document, including the number of pages, and attachments
or appendices; (2) the general subject matter of the document; (3) the date of the document; (4)
all persons to whom the document was distributed, shown or explained; and (5) such other
                                                    vii

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information as is sufficient to identify the document for a subpoena duces tecum, including,
where appropriate, the author of the document, the addressee of the document, and, where not
apparent, the relationship of the author and the addressee to each other.

       E.      In the event that any document called for has been destroyed, discarded, or
otherwise disposed of, identify the document by stating its: (a) author or preparer; (b)
addressee(s); (c) indicated or blind copies; (d) date; (e) subject matter; (f) number of pages; (g)
attachments or appendices; (h) all Persons to whom it was distributed to or shown; (i) date of
destruction of other disposition; (j) manner of destruction or other disposition; (k) reason for
destruction or other disposition; (l) Person destroying or disposing of the document; and (m) the
document request or requests to which the document is responsive.

       F.     In producing documents requested herein, You shall produce documents in full,
without abridgment, abbreviation, and expurgation of any sort.

       G.     All documents shall be produced as they are kept in the usual or ordinary course of
business with any identifying labels, file markings or similar identifying features, and shall be
organized and segregated in accordance with the numbered and lettered paragraphs and
subparagraphs herein, pursuant to Fed.R.Civ.P. 45, made applicable in bankruptcy cases by
Fed.R.Bankr.P. 9016.

       H.      All requests herein refer to the period from October 1, 2020 to the date of
production, unless otherwise specifically indicated, and shall include all documents and
information that relate to such period, even though prepared, generated or published prior to or
subsequent to that period.

         I.      The Examinee is requested to electronically produce all of the documents
described on the attached Exhibit “A” to the offices of Agentis, PLLC, 45 Almeria Avenue,
Miami, FL 33134, or by e-mail to: pam@agentislaw.com; and pamservice@agentislaw.com. If
the files are too large to produce by e-mail, a DropBox link will be provided upon request.


                                        TIME LIMITATION

       Unless otherwise specified, the requests sought for each category of documents are for
the four (4) year period preceding the Petition Date through the date of Your response.




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                                       DOCUMENT REQUESTS

       1.        All documents evidencing any payments made by You to G3, including wire

transfer advices and canceled checks.

       2.        Complete copies of Your file(s) relating to Your dealings with G3 concerning any

work performed or to be performed by G3 for Your benefit, including, without limitation,

memoranda, written agreements, assignments, purchase orders, work orders, invoices, receipts,

payment history, check stubs, wire transfers, and deposit records.

       3.        All agreements, contracts, and memorandum, including all drafts, unexecuted

copies and executed copies, relating to any services performed, or to be performed, by G3 for the

benefit of You.

       4.        All communications between You and G3.

       5.        All communications between You and [insert all the Absher parties, i.e. Scott

Absher, Mark Absher, etc.]

       6.        All communications and correspondence regarding the APAs between You and

any legal or financial professional representing or employed by G3, including Mr. Todd.

       7.        All other documents and communications regarding any services performed, or to

be performed by G3 for You.


                                             ***
        The Trustee expressly reserves the right to request additional documents as the
investigation continues, as the litigation proceeds, as additional issues are uncovered, and
as clarifications are required.




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